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                                        Attachment A


                                          COUNT 1

      On or about March 24, 2024, in the County of Yavapai, in the District of Arizona, the
Defendant Mark Adams Prieto, did transfer or otherwise dispose of a firearm, to wit: Quentin
Defense AR-15 rifle, serial number: QDF0096, to another individual, in or otherwise affecting
interstate commerce, knowing or having reasonable cause to believe that the use, carrying, or
possession of the firearm by this individual would constitute a felony, to wit: Malice Murder, a
violation of Ga. Code Ann. § 16-5-1.
      In violation of Title 18, United States Code, Section 933(a)(1).
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                               STATEMENT OF PROBABLE CAUSE

       I, Ryan S. Harp, being first duly sworn, hereby depose and state as follows:

       1.     I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), United

States Department of Justice, and have been so employed since 2020. I am currently assigned to

the Phoenix Field Office in Phoenix, Arizona. I am a member of the Joint Terrorism Task Force

(JTTF) and am responsible for investigating individuals and entities for possible violations of

federal laws, particularly acts of domestic terrorism, violent crimes, counterterrorism, and federal

firearms violations.

       2.     My training in law enforcement includes agency specific training in all aspects of

conducting federal criminal investigations. I am an “investigative or law enforcement officer of

the United States” within the meaning of Title 18, United States Code, § 2510(7), authorized to

conduct investigations into alleged violations of federal law.

       3.     This affidavit is made in support of a criminal complaint and arrest warrant for Mark

Adams Prieto (“PRIETO”) for a violation of Title 18, United States Code (U.S.C.) § 933(a)(1),

Trafficking in Firearms. 1,2



1
  The elements for 18 U.S.C. § 933(a)(1) are: 1) the accused knowingly shipped, transported,
transferred, caused to be transported, or disposed of a firearms to another person; 2) the
shipping, transporting, transferring, causing to be transported, or disposition of the firearm was
in or otherwise affecting interstate commerce; and 3) the accused knew or had reasonable cause
to believe that the use, carrying or possession of the firearm by the other person/recipient would
constitute a felony.

2 In this case, as discussed below, PRIETO provided a firearm to another individual knowing or
having reasonable cause to believe that the individual’s intended use of the firearm would
constitute a violation of Georgia Code Annotated § 16-5-1. The elements of that statute are: 1)
the accused caused the death of another person, 2) unlawfully, and 3) with malice aforethought.
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       4.      The statements contained in this affidavit are based on my training and experience

as a Special Agent as well as information provided to me by other agents of the FBI, other law

enforcement officers, and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not set forth all my knowledge about

this matter.

                                      IDENTIFICATION

       5.      I have identified PRIETO based on his Arizona state Department of Motor Vehicle

records, Florida Department of Motor Vehicle issued driver’s license, his physical description,

date of birth, social security number, multiple photographs, corroboration by an individual who

runs the Arizona-based Crossroads of the West gun shows, and physical surveillance.

                                             FACTS

       6.      In October 2023, the matter came to the attention of FBI Phoenix when a reliable

Confidential Human Source (“CHS”) reported that an individual, later identified as PRIETO,

expressed a desire to incite a race war prior to the 2024 United States Presidential Election. 3,4

Over the past three years, the CHS has spoken over 15 times with PRIETO at various gun shows.

The two initially just made small talk but the talk eventually began to include political

conversations. Within the last year, the CHS noted that PRIETO began making suspicious and

alarming comments, including advocating for a mass shooting, and specifically targeting “blacks,

Jews, or Muslims.”


3 The CHS is working for the FBI in exchange for payment, and the information he has provided
in the past has been credible and independently corroborated by law enforcement. The CHS has
no prior felony convictions and the information he has provided is believed to be reliable.
4 Most interactions with PRIETO were recorded and saved.
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       7.     According to the CHS, PRIETO believes that martial law will be implemented

shortly after the 2024 election and that a mass shooting should occur prior to the implementation

of martial law. In late 2023, PRIETO asked if the CHS was “ready to kill a bunch of people,”

indicating his desire to recruit people to assist him in carrying out an attack. PRIETO has

previously told the CHS that he, “will go to hell for these people…to get this thing started off for

them.” Additionally, PRIETO has claimed to have fought as a mercenary in Ukraine and killed

Russian soldiers. 5

       8.     According to the CHS, PRIETO has been a vendor at Crossroads of the West gun

shows in Prescott, Arizona, where he offers numerous firearms from his personal collection for

trade. According to the CHS, PRIETO prefers conducting his trades “off book” and using only

cash deals or trades to avoid possible issues or interactions with the Bureau of Alcohol, Tobacco,

Firearms & Explosives. This statement and others like it below were corroborated by recorded

consensual monitoring with the CHS.

       9.     In December 2023, FBI Agents contacted the individual who runs the Arizona-

based Crossroads of the West gun shows. That individual told agents that the physical description

of PRIETO, a review of the show’s table rental history, and actions associated with PRIETO at

other shows (as advised by the CHS, such as carrying around a long gun) matched the description

and demeanor of a vendor that he knew by another name. Law enforcement agents then showed




5 In addition to these statements, PRIETO has made multiple other statements indicating that he
has traveled to various countries for security-type of work. To date, the FBI has found no
evidence that PRIETO has a passport or traveled outside the United States.
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a photo of PRIETO to the individual and he confirmed that he knows that individual by another

name. 6

       10.     During this investigation, FBI agents have seen PRIETO residing at an address on

Hornet Drive in Prescott, Arizona (“Subject Residence”) and exhibiting behavior consistent with

an individual living at the Subject Residence.

       11.     Between January 2024 and March 2024, FBI agents and Task Force Officers

(“TFOs”) have conducted surveillance of PRIETO and have observed him at the Subject

Residence and using vehicles registered to the homeowner. 7 Based on this investigation, I believe

that PRIETO resides at the Subject Residence.

                   Undercover Operation and January 20-21, 2024, Gun Show

       12.     On January 20, 2024, the FBI observed PRIETO drive to a gun show in Phoenix,

Arizona. PRIETO was observed entering the gun show with two rifles. PRIETO met and had

discussions with various vendors before contacting the CHS and an Undercover FBI Agent (UC)

at the CHS’s vendor booth. PRIETO was introduced to the UC by the CHS as an associate helping

work the CHS’s vendor booth.

       13.      At first, PRIETO only made small talk with the CHS and the UC. However, on the

second day of the show (January 21), PRIETO divulged his plan to commit crimes of violence

against African Americans in Atlanta, Georgia. Specifically, PRIETO said he wanted the CHS

and UC to help him carry out a mass shooting at a yet-to-be-determined rap concert. PRIETO



6
 Investigators know this other name, but it is left out of this affidavit for privacy reasons.
7
 The Subject Residence and vehicles are owned by the other person referenced in Paragraph 9
and Footnote 6.
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specifically targeted Atlanta, stating that, “The reason I say Atlanta. Why, why is Georgia such a

fucked-up state now? When I was a kid that was one of the most conservative states in the country.

Why is it not now? Because as the crime got worse in LA, St. Louis, and all these other cities, all

the n****** moved out of those (places) and moved to Atlanta. That’s why it isn’t so great

anymore. And they've been there for a couple, several years.”

       14.     PRIETO further told the CHS and UC that he wanted to target a rap concert because

there would be a high concentration of African Americans at the concert. PRIETO said he planned

to leave confederate flags after the shooting to send a message that “we’re going to fight back

now, and every whitey will be the enemy across the whole country.” PRIETO said he wanted to

show “no mercy, no quarter” and advised the CHS and UC that they “can’t have any feeling,

they’re not people. They’re monsters as far as I’m concerned.”

       15.     PRIETO stated he preferred to use two rifles and a bolt-action sniper rifle because

it was more accurate. PRIETO suggested the CHS and UC should use an AK-platform weapon,

as AR variant rifles were less reliable. Notably, during the two-day gun show, FBI investigators

observed PRIETO carrying five different firearms. All the firearms seen in PRIETO’s possession

at the gun show are similar in features and caliber to the AK-platform weapon systems PRIETO

said he wanted to use in the attack.

       16.     PRIETO also suggested that the group (meaning himself, the CHS, and the UC)

should travel to Atlanta before the attack to store weapons in the area, as PRIETO did not want to

drive to Atlanta for the shooting with firearms in the vehicle. These weapon caches would be

hidden or discrete so only PRIETO, the CHS, and the UC would possess knowledge of its location.

PRIETO also told the group that they would need to destroy the weapons, saying that they should
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“burn ‘em so there’s no trace. You wear gloves and everything, you wipe down cartridges,

everything. It’s going to be in and out. You have to get rid of the weapons wherever you are. You

have to take a shower get rid of all the powder, residue, everything, change your clothes

everything. Before the momentum starts.”

       17.     PRIETO stated to the CHS and the UC that he wanted the attack to occur in April

or May. He specifically said that the attack should occur following Super Tuesday so that they

would know the election candidates.

                   Undercover Operation and February 24-25, 2024, Gun Show

       18.     On February 24, 2024, the FBI conducted surveillance on PRIETO and observed

him arrive at the gun show in Phoenix, Arizona. PRIETO was observed entering the gun show

with two rifles, one slung over his shoulder and another carried by hand. Upon entering the show,

PRIETO was observed walking directly to the location of the CHS’s vendor booth from the

January gun show. PRIETO found the CHS’s vendor booth and immediately asked the UC and

CHS if they are still a go for the attack.
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       19.     Later, PRIETO provided the UC firearm advice on AK-platform weapons, as well

as continued to explain his plan. PRIETO advised the UC that instead of having two rifle shooters

and a sniper, each member of the group (meaning himself, the CHS, and the UC) will have a

sniper rifle, an assault rifle, and a handgun as a backup for the attack.

       20.     PRIETO stated he wanted bolt-action rifles for the flanks and fast-shooting semi-

autos for when you have to collapse in. PRIETO stated, “You want to corral them. And some

people might be trying to leave out of a corner, and you want to blast those guys. Once [they] get

the idea that they are trapped then there is pandemonium. Now they’re in a panic. And they can’t

get out. Now they are going to be crawling over each other to get out.”

       21.     PRIETO also stated that he wanted to make clear that the attack was not a gang-

related thing. PRIETO wanted it clear that the attack was racially motivated. PRIETO stated he

wanted to put Confederate flags at the location of the attack and to shout out “whities out here

killing, what’s we gonna do,” “KKK all the way,” and “black lives don’t matter, white lives
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matter.” PRIETO also emphasized that the most important thing was a high body count. PRIETO

stated, “These people don’t belong here in this country anyway, okay.” PRIETO advised the CHS

and the UC not to use a gun that has a paper trail for the attack. PRIETO stated the best thing is

anonymity.

       22.    On February 25, 2024, PRIETO was observed arriving to the gun show with an AK-

47, Model: NDS-1KP, S/N: H001428. During the show, PRIETO handed the firearm to the UC.

PRIETO sold the firearm to the UC for $2000.00 cash.

       23.    On that day at the gun show, PRIETO told the UC and the CHS that he liked the

idea of using smoke grenades with a 37mm grenade launcher because it can be used to cover the

whole area and would cause more panic. PRIETO advised the UC and the CHS he possessed

smoke grenades but would need more. PRIETO referenced the Colorado shooter and using smoke

grenades as an attack tactic. PRIETO also asked the UC and the CHS if either of their vehicles

has GPS in them. PRIETO stated, “and another thing we are gonna have to do, like before we go

into the operation area, we are gonna leave our phones. We don’t want our phones.”

                   Undercover Operation and March 23-24, 2024, Gun Show

       24.    On March 23, 2024, the FBI conducted surveillance on PRIETO and observed him

arrive to the gun show in Prescott Valley, Arizona. PRIETO had his own vendor table at the gun

show. PRIETO had about nine firearms at this table.
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         25.   During the show, PRIETO responded, “Yeah, yeah we gotta do it” when asked by

the UCE if the planned attack was all talk or if they were going to do it. PRIETO stated, “If you

wait till after the election, they might have everything in place you can’t even drive, you’ll be

stopped. I want to try to put the guns in place by then if we can’t do it before they put everything

in place.” PRIETO confirmed that the targeted event is a rap concert that will be held at State

Farm Arena in Middletown-Atlanta on May 14 and May 15, 2024.

         26.   PRIETO also told the UC that it may not be May when they do the attack, maybe

June or July. PRIETO stated, “The hotter the weather, the better because people will want to be

outside more. When it gets hot, people can’t think straight.” PRIETO responded “yeah” when

asked by the UC if the timeline was pushed to June, would State Farm Arena still be the target

venue.
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       27.    PRIETO stated he wanted to use hoodies, face coverings, and everything in case

people see them scurrying away. PRIETO added that no one was going to be suspicious about

someone wearing a hoodie at a rap concert. PRIETO also said that the main weapon was going to

be the semi-auto rifle. PRIETO advised it could be an AR but had to be a quality AR. PRIETO

said he had a piston-driven AR that was not on record. PRIETO offered to sell the UC the piston-

driven AR after the UC expressed interest in getting a gun for the attack.

       28.    PRIETO told the UC that he planned on bringing a handgun as a backup weapon.

PRIETO advised he planned on using a Ruger Security 6 as the handgun, which PRIETO

purchased during the February 24-25, 2024 show.

       29.    On March 24, 2024, PRIETO sold a Quentin Defense AR-15 rifle with one

aluminum 30-round magazine (empty), Serial Number: QDF00096 to the UC for $1000.00. 8

PRIETO told the UCE to use this rifle for the attack. PRIETO told the UC to bring as many

magazines as the UC could carry.

                        Undercover Operation and April 17-18, 2024, Gun Show

       30.    On April 17, 2024, the FBI conducted surveillance on PRIETO and observed him

arrive to the gun show in Prescott Valley, Arizona. PRIETO was observed carrying a Mosin

Nagant rifle and a handgun in a leather pistol holster.

       31.    During the show, PRIETO confirmed that the group (meaning himself, the CHS,

and the UC) would use AR-platformed weapons. PRIETO emphasized that the 5.56 caliber

ammunition used with the AR is great ammunition for civilian patrols.


8 An ATF interstate nexus expert has examined the firearm and determined that it traveled in or
otherwise affected interstate commerce.
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      32.    PRIETO told the CHS and the UC not to use Mosin Nagants as the bolt gun for the

attack because Mosins were too long. PRIETO highlighted utilizing 300 Blackout for the attack

instead. PRIETO emphasized that 300 Blackout was the same AR-platform weapon system and

uses the same AR-style magazines. PRIETO stated that 300 blackout was a perfect caliber for the

100-yard range they would be shooting in.

      33.    After the UC asked if the attack was still going to happen in May, PRIETO advised

that he wanted to push the attack back to a later time. He mentioned that he would be traveling

back East in May and he said that he wanted to conduct his own recon of the area and scout

locations to place propaganda and sound equipment for the attack during his trip. PRIETO also

told the CHS and the UC that he would try and acquire smokers on his trip. PRIETO wanted to

get the launchers and smoke for the attack. PRIETO emphasized that the attack must happen prior

to the election and as soon as possible. PRIETO also told the UC, “You go out on your own and

do it. We don’t have to vocalize it. You do it on your own. Because you got pissed off now, and

you know why you’re pissed off now”.

                                   May 5, 2024, Gun Show

      34.    On or about May 5, 2024, PRIETO attended a gun show in Tucson, Arizona, where

the CHS was attending as well.9 PRIETO advised the CHS that he was going to leave “next week”

to head East to conduct his recon of Atlanta. PRIETO told the CHS that he was going to be gone

for a couple weeks. PRIETO confirmed that the next meeting for the group (meaning himself, the

CHS, and the UC) would take place at the gun show in Flagstaff, AZ on June 1-2, 2024.



9 This interaction was not recorded because PRIETO was not expected to attend the gun show.
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  AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                            District
                                                   __________        of Arizona
                                                              District  of __________

                    United States of America
                               v.                                        )
                                                                         )         Case No.    MJ-24-04152-001-PCT-CDB
                                                                         )
                        Mark Adams Prieto                                )
                                                                         )
                                                                         )
                              Defendant


                                                        ARREST WARRANT
  To:      Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
  (name of person to be arrested)      Mark Adams Prieto                                                                                        ,
  who is accused of an offense or violation based on the following document filed with the court:

  u Indictment              u Superseding Indictment         u Information              u Superseding Information            ✔ Complaint
                                                                                                                             u
  u Probation Violation Petition              u Supervised Release Violation Petition            u Violation Notice          u Order of the Court

  This offense is briefly described as follows:
    18 U.S.C. § 933(a)(1) Trafficking in Firearms




  Date:         05/15/2024
                                                                                                  Issuing officer’s signature

  City and state:       Flagstaff, Arizona                  s/ Debra D. Lucas, &OHUN       Natalia Bergander/Judicial Assistant
                                                                                                    Printed name and title


                                                                     Return

             This warrant was received on (date)                             , and the person was arrested on (date)
  at (city and state)                                            .

  Date:
                                                                                                 Arresting officer’s signature



                                                                                                    Printed name and title




CC: USM & PTS
